                                                                                                    INDEX NO. 152099/2020
                 Case 1:20-cv-00626-KBJ Document 19-1 Filed 03/10/21 Page
NYSCEF DOC. NO. 12                                                        1 of 3NYSCEF: 03/09/2021
                                                                     RECEIVED



          SUPREME COURT OF THE STATE OF NEW YORK
          COUNTY OF NEW YORK: IAS PART 55
          -------------------------------------------------------------------------X
          DONALD J. TRUMP FOR PRESIDENT, INC.,
                                                      Plaintiff,
                                                                                       DECISION & ORDER
                           –against–                                                   Index No. 152099/2020
                                                                                       Mot. Seq. No. 001
          THE NEW YORK TIMES COMPANY d/b/a
          The New York Times,

                                                       Defendant.
          -------------------------------------------------------------------------X
          Hon. James E. d’Auguste

                  This litigation arises from an opinion column published in The New York Times entitled

          “The Real Trump-Russia Quid Pro Quo.” Plaintiff Donald J. Trump for President, Inc. (“Trump

          campaign”) filed this suit against defendant The New York Times Company d/b/a The New York

          Times (“the Times”) alleging defamation. The Times now moves, pursuant to CPLR 3211(a), 22

          NYCRR 130-1.1, and CPLR 8303-a, to dismiss the complaint and have sanctions imposed. For

          the reasons discussed below, this Court grants dismissal of the complaint with prejudice and denies

          the application for the imposition of sanctions.

                  The facts upon which this litigation is based are relatively straightforward. On March 27,

          2019, the Times published a column written by Max Frankel relating to Special Counsel Robert

          Mueller’s report regarding his oversight of the United States Department of Justice’s investigation

          into Russian infiltration into the 2016 presidential election, officially titled Report On The

          Investigation Into Russian Interference In The 2016 Presidential Election (the “Mueller report” or

          “report”). Because the Mueller report had not yet been released to the public, the column was

          based upon Attorney General William Barr’s general summation of the report. The complaint

          contends that despite the Mueller report’s finding that there was no “electoral collusion” between

          Russia and Trump campaign associates, Mr. Frankel believed and asserted in his column that there




                                                               1 of 3
                                                                                                  INDEX NO. 152099/2020
                 Case 1:20-cv-00626-KBJ Document 19-1 Filed 03/10/21 Page
NYSCEF DOC. NO. 12                                                        2 of 3NYSCEF: 03/09/2021
                                                                     RECEIVED



          had been an “overarching deal: the quid of help in the campaign against Hillary Clinton for the

          quo of a new pro-Russia foreign policy.” Mr. Frankel, after discussing then-recent events,

          ultimately concluded that, in his opinion, while the conduct “was not in itself illegal,” it was

          “unseemly at best.”

                 After the column was published, the Trump campaign commenced the instant litigation,

          which this Court now dismisses for the following reasons. First, while the complaint alleges that

          the terms used in the article, such as “deal” and “quid pro quo,” are defamatory and false, Mr.

          Frankel’s commentary in his article is nonactionable opinion, and the overall context in which the

          article was published, in the opinion section of the newspaper, signaled to the reader that “the

          broader social context and surrounding circumstances [indicate] that what is being read . . . is likely

          to be opinion, not fact.” Gross v. N.Y. Times Co., 82 N.Y.2d 146, 153 (1993) (internal quotation

          marks and citation omitted). This is because “[t]he dispositive inquiry, under either Federal or

          New York law, is ‘whether a reasonable [reader] could have concluded that [the articles were]

          conveying facts about the plaintiff.’” 83 N.Y.2d at 152 (alterations in original) (quoting 600 W.

          115th St. Corp. v. Von Gutfeld, 80 N.Y.2d 130, 139 (1992)); see also Gertz v. Robert Welch, Inc.,

          418 U.S. 323, 339 (1974) (finding that statements of opinion are not actionable because “there is

          no such thing as a false idea”).

                 Second, the challenged statements are not “of and concerning” plaintiff, which is a

          necessary element for a defamation action. For example, in Lazore v. NYP Holdings, Inc., 61

          A.D.3d 440 (1st Dep’t 2009), the Appellate Division, First Department dismissed a complaint

          alleging defamation because “the offending statements were directed against a governing body

          . . . , rather than against its individual members.” 61 A.D.3d at *1. Further, a corporate entity has

          no standing to sue over statements that concern an entity’s employees or affiliates, but not the

          entity itself. See Cohn v. Nat’l Broadcasting Co., 67 A.D.2d 140, 146 (1st Dep’t 1979), aff’d, 50


                                                            2

                                                         2 of 3
                                                                                                INDEX NO. 152099/2020
                 Case 1:20-cv-00626-KBJ Document 19-1 Filed 03/10/21 Page
NYSCEF DOC. NO. 12                                                        3 of 3NYSCEF: 03/09/2021
                                                                     RECEIVED



          N.Y.2d 885 (1980) (rejecting a law firm’s defamation claim based on allegedly defamatory

          references to one of the firm’s lawyers); Carlucci v. Poughkeepsie Newspapers, Inc., 57 N.Y.2d

          883, 885 (1982) (affirming dismissal of corporate plaintiff's lawsuit where news report concerned

          only the gambling activities of the company’s owner and the article was not “of and concerning”

          the corporate entity). Here, the focus of Mr. Frankel’s column was the former President’s

          associates and family members, not the Trump campaign itself.

                 Third, even if Mr. Frankel’s commentary was actionable as factual assertions, and even if

          such assertions were of and concerning the Trump campaign, the complaint fails to allege facts

          sufficient to support the requirement that the Times published the challenged statements with

          actual malice, meaning “knowledge that [the statements] were false, or [made] with reckless

          disregard for the truth.” Winklevoss v. Steinberg, 170 A.D.3d 618, 619 (1st Dep’t 2019). In this

          regard, bias, or ulterior motive does not constitute actual malice. See, e.g., Roche v. Hearst Corp.,

          53 N.Y.2d 767, 769 (1981); Farrakhan v. N.Y.P. Holdings, 168 Misc. 2d 536, 543-44 (Sup. Ct.

          N.Y. County 1995) (Arber, J.), aff’d, 238 A.D.2d 197 (1st Dep’t 1997). This heavy burden exists

          because news organizations function as a platform for facilitating constitutionally protected speech

          on issues of public concern and courts will not impose defamation liability against these entities

          absent a clear showing of actual malice.

                 Although the action is being dismissed, this Court denies the application for the imposition

          of sanctions. See W.J. Nolan & Co. v. Daly, 170 A.D.2d 320, 321 (1st Dep’t 1991).

                 Accordingly, the Times’ motion is granted to the extent of directing the Clerk to enter

          judgment dismissing the instant action with prejudice. This constitutes the decision and order of

          this Court.

          Dated: March 9, 2021
                                                                 __________________________
                                                                 Hon. James E. d’Auguste, J.S.C.
                                                                152099/2020


                                                           3

                                                        3 of 3
